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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 FEDERAL TRADE COMMISSION and
 STATE OF FLORIDA, OFFICE OF
 THE ATTORNEY GENERAL,
 DEPARTMENT OF LEGAL AFFAIRS,

                       Plaintiffs,

 v.                                                             Case No: 6:14-cv-8-Orl-41DAB

 WORLDWIDE INFO SERVICES, INC.,
 ELITE INFORMATION SOLUTIONS
 INC., ABSOLUTE SOLUTIONS GROUP
 INC., GLOBAL INTERACTIVE
 TECHNOLOGIES, INC., GLOBAL
 SERVICE PROVIDERS, INC., LIVE
 AGENT RESPONSE 1 LLC, ARCAGEN,
 INC., AMERICAN INNOVATIVE
 CONCEPTS, INC., UNIQUE
 INFORMATION SERVICES INC.,
 MICHAEL HILGAR, GARY MARTIN,
 JOSEPH SETTECASE, NATIONAL
 LIFE NETWORK INC. and YULUISA
 NIEVES,

                       Defendants.
                                             /

                                            ORDER

        THIS CAUSE is before the Court upon sua sponte review of the record. Plaintiffs initiated

 this action on January 6, 2014, and filed an Amended Complaint (Doc. 53) on February 25, 2014,

 which named the fifteen defendants—Worldwide Info Services, Inc. also d/b/a The Credit Voice;

 Elite Information Solutions Inc. also d/b/a The Credit Voice; Absolute Solutions Group Inc. also

 d/b/a The Credit Voice; Global Interactive Technologies, Inc. also d/b/a The Credit Voice; Global

 Service Providers, Inc.; The Credit Voice, Inc. also d/b/a TCV; Live Agent Response 1 LLC also

 d/b/a LAR; Arcagen, Inc. also d/b/a ARI; American Innovative Concepts, Inc.; Unique Information



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 Services Inc.; National Life Network Inc.; Michael Hilgar; Gary Martin; Joseph Settecase; and

 Yuluisa Nieves.

        On May 14, 2014, one Defendant, The Credit Voice, Inc., was voluntarily dismissed. (Doc.

 85). On November 13, 2014, an Order and Permanent Injunction was entered, which resolved all

 claims regarding thirteen Defendants. (Doc. 102). Most recently, through default judgment, a

 second Order and Permanent Injunction was entered, which resolved all claims regarding the final

 Defendant, Live Agent Response 1 LLC. (Doc. 109). As a result, there remains no live case or

 controversy, and this case will be dismissed.

        Accordingly, it is ORDERED and ADJUDGED as follows:

            1. This case is DISMISSED.

            2. All pending motions are DENIED as moot. 1

            3. The Clerk is directed to close this case.

            4. On or before April 13, 2015, the Receiver, Robb Evans and Robb Evans &

                Associates, LLC, shall file—(1) a status report, which discusses any on-going or

                future obligations regarding the Receivership; or (2) a “final report and application

                for fees and expenses,” (see Doc. 102 at 13; Doc. 109 at 10).




        1
           Previously, Counsel for certain Defendants moved to withdraw. (See Doc. 105). The
 corresponding Report and Recommendation (Doc. 107) recommended that Counsel’s motion be
 granted. Because this case is now moot, Counsel’s motion will be denied as such, which, for
 practical purposes, affords Counsel the relief requested in the motion.



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        DONE and ORDERED in Orlando, Florida on March 10, 2015.




 Copies furnished to:

 Counsel of Record




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